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 6   Attorney for Daniel Rodriguez

 7
                                 UNITED STATES DISTRICT COURT
 8
                                     DISTRICT OF COLOMBIA
 9
10   UNITED STATES OF AMERICA,                            Case No. 1:21-cr-00246-ABJ-1

11                  Plaintiff,                           MOTION TO WITHDRAW
                                                      BRANDON JAROCH AS COUNSEL
12          v.

13   DANIEL RODRIGUEZ,

14                  Defendant.

15
16          The undersigned counsel for Defendant, Rebecca A. Levy, Assistant Federal Public
17   Defender, hereby moves this Court to withdraw Brandon Jaroch, Assistant Federal Public
18   Defender, as counsel in this matter. The withdrawal is necessary because Mr. Jaroch has
19   accepted a position of employment as a judge in another district. Undersigned counsel will
20   remain as counsel in this matter.
21
            DATED this 31th day of August, 2021.
22
                                                   RENE L. VALLADARES
23                                                 Federal Public Defender
24
                                            By: /s/ Rebecca A. Levy
25                                              REBECCA A. LEVY
                                                Assistant Federal Public Defender
26
            Case 1:21-cr-00246-ABJ Document 27 Filed 08/31/21 Page 2 of 2




 1                         CERTIFICATE OF ELECTRONIC SERVICE

 2          The undersigned hereby certifies that she is an employee of the Federal Public Defender
 3   for the District of Nevada and is a person of such age and discretion as to be competent to
 4   serve papers.
 5          That on August 31, 2021, she served an electronic copy of the above and foregoing
 6   MOTION TO WITHDRAW BRANDON JAROCH AS COUNSEL by electronic service
 7   (ECF) to the person named below:
 8
 9                   CHANNING D. PHILLIPS
                     United States Attorney
10                   Kimberly L. Paschall
                     Risa Berkower
11                   Tara Ravindra
                     Assistant United States Attorneys
12                   555 4th Street, NW
                     Washington, DC 20530
13
14                                                   /s/ Cecilia Valencia
                                                     Employee of the Federal Public Defender
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